           Case 1:17-vv-00285-UNJ Document 40 Filed 05/04/18 Page 1 of 4




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 17-285V
                                    Filed: February 20, 2018
                                         UNPUBLISHED


    ANGEL DANDREA,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

         On February 28, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that that as a result of her October 15, 2015 influenza
(“flu”) vaccination she suffered right shoulder injuries. Petition at 1-4. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On November 3, 2017, a ruling on entitlement was issued, finding petitioner
entitled to compensation for shoulder injury related to vaccine administration (“SIRVA”).
On February 16, 2018, respondent filed a proffer on award of compensation (“Proffer”)
indicating petitioner should be awarded $122,360.92, comprised of $120,000.00 for pain
and suffering and $2,360.92 for past out of pocket medical expenses. Proffer at 1. In
the Proffer, respondent represented that petitioner agrees with the proffered award.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:17-vv-00285-UNJ Document 40 Filed 05/04/18 Page 2 of 4



       Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $122,360.92, comprised of $120,000.00 for pain
and suffering and $2,360.92 for past out of pocket medical expenses, in the form
of a check payable to petitioner, Angel Dandrea. This amount represents
compensation for all damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
            Case 1:17-vv-00285-UNJ Document 40 Filed 05/04/18 Page 3 of 4



                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                OFFICE OF SPECIAL MASTERS


    ANGEL DANDREA,                )
                                  )
              Petitioner,         )
    v.                            )                    No. 17-285V
                                  )                    Chief Special Master Dorsey
    SECRETARY OF HEALTH AND HUMAN )                    ECF
    SERVICES,                     )
                                  )
              Respondent.         )
                                  )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Items of Compensation

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

$122,360.92, comprised of $120,000.00 for pain and suffering and $2,360.92 for past out of

pocket medical expenses. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

    II.    Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $122,360.92, in the form of a check payable to petitioner. 1 Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
  Case 1:17-vv-00285-UNJ Document 40 Filed 05/04/18 Page 4 of 4



                                   Respectfully submitted,

                                   CHAD A. READLER
                                   Acting Assistant Attorney General

                                   C. SALVATORE D’ALESSIO
                                   Acting Director
                                   Torts Branch, Civil Division

                                   CATHARINE E. REEVES
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   ALEXIS B. BABCOCK
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   s/ Traci R. Patton
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Dated: February 16, 2018
